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IN THE UNITED STATES DISTRICT COURT

 

FoR THE NoRTHERN DISTRICT oF TEXAS ’ t §§ §§ 315

AMARILLO DIVISION gywa C, vi Q/(/
KIMBERLY D. POLLARD and J.S. (A
l\/[inor Child),
PLAINTIFFS,
vs.

CIVIL ACTION CAUSE NUMBER
CHURCH OF GOD IN CHRIST, INC., an
Active Domestic Tennessee Nonprofit
Corporation, and CHURCH OF GOD IN
CHRIST, BOARD OF BISHOPS, and BISHOP
JAMES L’KEITH JONES,

2:16-CV-238-J

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DEFENDANTS.
ORDER DENYING MOTION TO SET ASIDE DEFAULT JUDGMENT

Before the Court are Defendant J ames Jones’ motions, filed April 17 and June 26, 2017, to set

aside the final judgment entered against him, Plaintiffs’ responses in opposition to that request, and
Defendant Jones’ reply brief.

lt is clear from the record that on January 25, 2017 Def`endant J ones was properly served by

a licensed private process server with a copy of both the original complaint and a summons, but failed

to timely file an answer or otherwise timely respond in this civil lawsuit. lt is clear from the record

that Def`endant J ones is not disputing any of the factual allegations asserted against him in the

complaint, but admitted to his co-Defendant the truth of the core factual allegations asserted against
him in the original complaint

Upon motion of the Plaintiffs, a final adverse judgment was entered against him on March 17,

2017 for an amount far less that was pled for in the original complaint

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Defendant has not shown adequate grounds for relief from the judgment entered. He does not
show excusable neglect, or plead newly discovered evidence showing his innocence of the claims
alleged. He has not shown that it is inequitable for the final judgment not to be reversed or set aside.
He has not claimed fraud, inadvertence or surprise. His claim that a mistake has been made, that is,
that the Summons was not also delivered to him by either the process server or by the Service by mail
effectuated upon him by Plaintiffs’ counsel, is not credible.

For all of those reasons, Defendant’s motion is denied.

lt is SO ORDERED.

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Signed this the z day of August, 2017.

/s/ Marv Lou Robinson
MARY LOU ROBINSON
SENIOR UNITED STATES DISTRICT JUDGE

